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                                  STATEMENT OF OFFENSE

On March 27, 2025, at approximately 9:00 p.m., members of the Metropolitan Police Department’s
(“MPD”) Violent Crime Suppression Division’s Robbery Suppression Unit (“RSU”) were on
patrol in the Sixth District, specifically Patrol Service Area (“PSA”) 602. In the past six months,
52 violent crimes were reported in PSA 602: six homicides, one sex abuse, 19 assaults with
dangerous weapons, and 26 robberies.

RSU members were dressed in plain clothes and wearing tactical vests identifying themselves as
MPD. RSU was patrolling in multiple vehicles. RSU members Eddie Choi (driver), Robert Marsh
(front passenger), Davon Todd (rear left passenger), and Wilfredo Guzman (front right passenger)
were driving in an unmarked Chevy Malibu in the 200 block of 50th Street Northeast, Washington,
D.C.

At approximately 9:05 p.m., RSU members observed an individual, later identified as ANTAWON
HAGAN exit the front passenger seat of a Chevy SUV that was parked alongside 219 50th Street
Northeast. As the unmarked RSU vehicle approached HAGAN, officers saw HAGAN look toward
the police vehicles and duck down as if attempting to hide from view.

RSU members tried to talk to HAGAN but when the officers got out of their vehicle, HAGAN
took off running toward the entrance of the apartment building at 219 50th Street Northeast. As
he ran, officers noticed that HAGAN placed his right hand toward his front waistband area while
his left arm swung freely. Based on their training and experience, RSU members know that
individuals often conceal their firearms inside their pants waistband and that they will try to secure
the firearm with one hand if they are running.

When HAGAN entered the apartment building, he tried to run up the stairs but fell. As HAGAN
entered the stairwell, a woman walking a dog, later identified to be HAGAN’s mother, was coming
down the stairs. RSU members attempted to secure HAGAN in handcuffs on the stairs but
HAGAN had both hands underneath him toward his waistband. RSU members then heard a clear
and loud clank, consistent with the sound of a firearm striking the steps. The sound is audible on
officers’ body-worn camera (“BWC”) footage and the firearm is seen falling down the steps in the
area where HAGAN’s body had been.
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          Figure 1: Still from Investigator Turner’s BWC Footage
         (Red Arrow Indicating HAGAN as He Falls Down Stairs)




          Figure 2: Still from Investigator Turner’s BWC Footage
         (Red Arrow Indicating HAGAN as He Falls Down Stairs)
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Figure 3: Still from Investigator Turner’s BWC Footage (Firearm Circled in Red)




Figure 4: Still from Investigator Damron’s BWC Footage (Firearm Circled in Red)
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After hearing the noise, Investigators Nicholas Damron and Gregory Turner saw a firearm on the
steps where HAGAN had just fallen. Investigator Damron reached out to secure the firearm as the
officers continued to attempt to handcuff HAGAN. HAGAN’s mother and her dog were amidst
the melee. Investigator Damron grabbed the firearm off the stairs and yelled, “I got it!”
Investigator Damron held the firearm in the air—away from the ongoing altercation between the
officers, HAGAN, and HAGAN’s mother.




      Figure 5: Still from Investigator Turner’s BWC Footage (Firearm Circled in Red)




      Figure 6: Still from Investigator Turner’s BWC Footage (Firearm Circled in Red)
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After securing the firearm, Investigator Turner noticed the magazine laying on the ground, which
had fallen out of the firearm. Investigator Turner picked up the magazine and handed it to
Investigator Damron, who put the magazine back into the recovered firearm.




     Figure 7: Still from Investigator Damron’s BWC Footage (Magazine Circled in Red)




     Figure 8: Still from Investigator Turner’s BWC Footage (Magazine Circled in Red)
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As the officers were trying to handcuff HAGAN, HAGAN’s mother inserted herself into the
altercation and stated repeatedly: “He’s got nothing, He’s got nothing.” However, after the
recovery of the firearm, which was apparent to HAGAN’s mother, HAGAN’s mother yelled:
“That’s mine!”

After officers placed HAGAN in handcuffs and exited the building, HAGAN’s mother followed
them. She yelled to police: “Where’s my bag?! . . . That’s mine! . . . Where are the keys to my
car?! Where’s my bag, my fanny pack?! I have a license! I just pulled up! I got a gun license!”
In response, Investigator Choi said, “Ok” and turned to HAGAN and said, “Do you?” HAGAN
responded: “I didn’t have no [inaudible], what the f**k you talking about?!”

Law enforcement placed HAGAN under arrest for carrying a pistol without a license. As they
searched HAGAN incident to his arrest, law enforcement recovered the keys to the Chevy SUV
in HAGAN’s pant’s pocket.

HAGAN’s mother remained on scene and continued to tell officers that the firearm was hers.
HAGAN responded to his mom: “You don’t even gotta talk to them, Ma . . . they seen that it fell
off you . . . I ain’t have no gun on me.” HAGAN then directed his comments to the officers and
said: “That [inaudible] fell off her! It fell off of her! What the f**k!” He said to his mother,
“Hey Ma . . . Ma . . . Let them know it fell off you, you got the right to carry!” Investigator Choi
responded: “Where is her holster?” HAGAN responded: “The house right there.”




      Figure 9: Still from Investigator Turner’s BWC (HAGAN’s Mother Circled in Red)
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Investigator Kirk Del Po interviewed HAGAN’s mother on scene. HAGAN’s mother confirmed
that she has a license to carry a firearm and that she owns a 9mm Smith & Wesson. She denied
that HAGAN was in possession of her firearm and insisted that she carries her own fanny pack for
the gun. When officers confronted HAGAN’s mother with the fact that HAGAN had the firearm
on his person, HAGAN’s mother insisted the firearm was in her black purse. Notably, HAGAN’s
mother was not carrying a purse and no purse was recovered on scene.

Law enforcement verified through a database check that HAGAN’s mother possessed a license to
carry a firearm and that the recovered firearm was registered to HAGAN’s mother. Additionally,
law enforcement later learned that HAGAN’s mother is the leaseholder to an apartment in 219
50th Street Northeast—the building HAGAN and his mother entered. HAGAN is listed as an
occupant of the apartment, indicating that HAGAN lives at that address with his mother.

Because HAGAN was exiting the Chevy SUV when RSU members encountered him and was
found in possession of a firearm, RSU members conducted a search of the Chevy SUV. During
that search, they recovered a black gun holster in a plastic bag in the back seat.




              Figure 10: Still from Vaillancourt’s BWC (Holster Circled in Red)

The firearm, which was recovered and processed after falling from HAGAN, is a 9mm Smith &
Wesson M&P 9 Shield semi-automatic pistol with the serial number RFL7760. The firearm was
loaded with one round in the chamber and seven rounds in an eight-round capacity magazine.
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                                Figure 11: Recovered Firearm

HAGAN was previously convicted of a crime punishable by more than one year imprisonment.
Specifically, in D.C. Superior Court Case No. 2015 CF3 011970, HAGAN was convicted of
Robbery While Armed, Attempt to Commit Robbery, and Unauthorized Use of a Vehicle (Crime
of Violence) and sentenced to 60 months’ incarceration. Additionally, in D.C. District Court Case
No. 21-cr-187, HAGAN was convicted of Unlawful Possession of a Firearm and Ammunition by
a Person Convicted of a Crime Punishable by Imprisonment for a Term Exceeding One Year. Thus,
HAGAN was aware at the time of this offense that he had been convicted of offenses punishable
by terms of imprisonment greater than a year.

No firearms or ammunition are manufactured within the District of Columbia and therefore the
recovered firearm and ammunition traveled in and affected interstate commerce.

                                                    Respectfully Submitted,




                                                    Bureau of Alcohol, Tobacco, and Firearms

         Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on April 8, 2025.

                                            ___________________________________
                                            HONORABLE ZIA M. FARUQUI
                                            UNITED STATES MAGISTRATE JUDGE
